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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



DAWN TOWNLEY,                                              Case No.: 16-cv-1316
    Plaintiff,
                                                           Hon. GORDON J. QUIST
v.
                                                           Mag. Judge RAY KENT
CITY COUNCIL for the CITY OF
HILLSDALE,
CITY OF HILLSDALE BOARD OF
PUBLIC UTILITIES,
MICHAEL BARBER, and
DAVID MACKIE,
     Defendants.

______________________________________________________________________________

Collin H. Nyeholt (P74132)                Audrey J. Forbush (P41744)
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______________________________________________________________________________

                                 STIPULATION and ORDER


NOW COME the parties who, in support of this proposed stipulation, hereby state as follows:

     1. The Parties have reached a settlement in the above captioned matter.
     2. The Court has ordered the parties to submit closing documents by October 10, 2017.
        (ECF 25.)
     3. The Parties encountered a communication error, which has resulted in a delay in
        processing the settlement documents.
     4. The Parties require an additional two weeks to submit closing documents.
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THEREFORE, IT IS ORDERED that the Parties shall have an additional two weeks, to October
24, 2017, to submit closing documents in the above captioned case.


Dated:                                                ____________________________
                                                      Hon. Gordon J. Quist
                                                      US District Court Judge



Approved for Entry

Dated: 10/10/2017                                     __/s/ Collin H. Nyeholt_________
                                                      Collin H. Nyeholt
                                                      Attorney for the Plaintiff

Dated: 10/10/2017                                     __/s/ (w/ permission)___________
                                                      Audrey J. Forbush
                                                      Attorney for the Defendants
